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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

L] Original Plan
[m] Fourth Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
[] Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Lyda Amparo Agudelo _ JOINT DEBTOR: CASE NO.: 21-16735-RAM
SS#: XXx-xx- 5796 SS#: XXX-XX-
1. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s} must commence plan payments within 30 days of
filing the chapter [3 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: |The plan contains no nonstandard provisions other than those set out in paragraph VIIL. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

The valuation of a secured claim, set out in Section ILI, which may result in a [1] tnctuded fm] Not included

partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set [1] Inchided [lM] Not included

out in Section IIT

Nonstandard provisions, set out in Section [X {| Included [m] Not included
H. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

I. $250.00 for months 1 to 20 ;
2. $862.35 for months 21 to 60;
B. DEBTOR(S)' ATTORNEY'S FEE: [J NONE [] PROBONO
Total Fees: $4,650.00 Total Paid: $1,200.00 Balance Due: $3,450.00
Payable $215.63 ‘month (Months 1 to 16 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$4,500.00+$ 150.00(Cost)=$4,650.00

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
IIL TREATMENT OF SECURED CLAIMS [] NONE

A. SECURED CLAIMS: [gi] NONE

B. VALUATION OF COLLATERAL: [Bi] NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1. REAL PROPERTY: [i] NONE

2. VEHICLES(S): [mi] NONE

3. PERSONAL PROPERTY: [im] NONE
C. LIEN AVOMDANCE [ii] NONE

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Debtor(s): Lyda Amparo Agudelo Case number: 21-16735-RAM
D. SURRENDER OF COLLATERAL:  [] NONE

E. DIRECT PAYMENTS [7 NONE

Secured claims filed by any creditor granted stay relief in this section shall not recetve a distribution fom the Chapter 13 Trustee.
[@] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor{s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
Westpark Villas 19D §212 W 24 Way #19-D Hialeah, FL 33016

!. Condominium Association
Inc

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)] [[] NONE
ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [a] NONE

INTERNAL REVENUE SERVICE: [i] NONE

DOMESTIC SUPPORT OBLIGATION(S): [—] NONE

D. OTHER: [lf] NONE

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¥. TREATMENT OF UNSECURED NONPRIORITY CREDITORS [7] NONE
A. Pay $9.37 ‘month (Months _1l tol6 )
Pay $225.00 /month (Months 17 to 20 )

Pay $776.12 {month (Months 21 to 60 )
Pro rata dividend will be caiculated by the Trustee upon review of filed claims after bar date.
B. [m] [f checked, the Debtor(s) will amend/modify to pay 100%% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [ig] NONE
VIL STUDENT LOAN PROGRAM [ml] NONE

VIL. EXECUTORY CONTRACTS AND UNEXPIRED LEASES [il] NONE
VIL. INCOME TAX RETURNS AND REFUNDS: [mg] NONE
IX. NON-STANDARD PLAN PROVISIONS [i] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

's Debtor October 18, 2021 Joint Debtor
Lyda Amparo Agudelo Date Date
Patrick L. Cordero, Esquire October 18, 2021

Attorney with permission to sign on Date

Debtor(s) behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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